                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )
                                    )                    DOCKET NO. 3:12cr239
         v.                         )
                                    )
                                    )                    ORDER TO TRANSPORT
(10) ANN TYSON MITCHELL             )
                                    )
                                    )
____________________________________)

       IT IS HEREBY ORDERED that the United States Marshall Service and the Bureau of

Prisons shall produce and transport the body of Defendant Ann Tyson Mitchell, a federal prison

inmate, who is a party in the above-captioned case, for a hearing on November 7, 2013 at

3:30pm before the honorable Graham C. Mullen in the Western District of North Carolina,

Charlotte Division.

       The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, and the United States Marshall Service.

       SO ORDERED.




                                         Signed: November 6, 2013




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